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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
          Plaintiff,                              )
                                                  )
       vs.                                        )     Case No. 4:10CR00170 CDP (AGF)
                                                  )
JERAD MICHAEL FULLER and                          )
JAMES FAREE FULLER,                               )
                                                  )
             Defendants.                          )


                 ORDER RELATING TO SPEEDY TRIAL COMPUTATION

       At the arraignment of the above Defendants on this date, counsel for the Defendants

requested, and the court granted, ten (10) days in which to review discovery and to determine

whether, and/or what, pretrial motions ought to be filed on behalf of Defendants. The

undersigned finds that to deny Defendants’ request for such time would deny counsel for

Defendants the reasonable time necessary for effective investigation and preparation of pretrial

motions, taking into account the exercise of due diligence, and that the ends of justice served by

granting Defendants’ request outweigh the best interest of the public and the Defendants in a

speedy trial. Therefore,

       IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv),

the time granted to Defendants to investigate and prepare motions, or a waiver thereof, is

excluded from computation of the time for a speedy trial.



                                                      AUDREY G. FLEISSIG
                                                      UNITED STATES MAGISTRATE JUDGE

Dated this 5th day of April, 2010.
